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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 13-CV-1300-MSK-MJW

   JOHN B. COOKE, Sheriff of Weld County, Colorado, et al.

         Plaintiffs,

   vs.

   JOHN W. HICKENLOOPER, Governor of the State of Colorado,

         Defendant.


   RESPONSE OF ALAMOSA COUNTY SHERIFF DAVE STONG TO
             DEFENDANT’S INTERROGATORIES

          Sheriff Stong, by and through his undersigned counsel, and pursuant to Fed. R.
   Civ. P. 33(b), hereby responds to Defendant’s Interrogatories as follows:

                               GENERAL OBJECTIONS

         Where no objection is interposed, the responses below reflect all responsive
 information and documents identified by Sheriff Stong before the date of the
 responses, pursuant to a reasonable and diligent search and investigation conducted
 in connection with this discovery. To the extent the discovery purports to require
 more, Sheriff objects on the grounds that (a) the discovery seeks to compel him to
 conduct a search beyond the scope of permissible discovery contemplated by the
 Federal Rules of Civil Procedure, and (b) compliance with the discovery would be
 oppressive, and would impose an undue burden or expense.

         Sheriff Stong’s discovery responses are also made subject to the ongoing
   discovery and trial preparation in this case. These discovery responses are made
   based on the best information, including facts available as of the date of such
   responses. Sheriff Stong reserves the right to amend, supplement, or change these
   discovery responses as permitted or required under the Federal Rules of Civil
   Procedure based on additional information obtained through the discovery and trial
   preparation process.



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          Sheriff Stong makes each individual response subject to and without waiving
   the conditions and objections that are stated in the sections of these responses
   entitled “General Objections” and “Objections to Instructions and Definitions” and
   that are specifically referred to in that particular individual response.

          Sheriff Stong makes each individual response without adopting in any way
   (unless otherwise stated) the terms and phrases that Defendant purports to define
   in his discovery. When Sheriff Stong uses words or phrases that Defendant has
   purported to define, those words and phrases should be given either (a) the meaning
   set out by Sheriff Stong in his responses, or in its objections to the specific
   definitions, or (b) the ordinary meaning of such words or phrases.


              OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

          Defendant has purported to define several terms used in his discovery. In his
   responses, Sheriff Stong gives ordinary words and phrases their ordinary meaning.
   By making this written response, Sheriff Stong does not (a) adopt any purported
   definition, (b) waive or limit its objections to Defendant’s purported definitions, or
   (c) concede the applicability of any such definition to any term or phrase that might
   be contained in written responses. Wherever these words are used in Defendant’s
   interrogatories, these objections and these clarifications are incorporated, unless
   otherwise specified in the request.

          Defendant purported to define “you” and “your” to include “counsel for
   Plaintiffs.” Sheriff Stong objects to this definition to the extent that it purports to
   require the disclosure of information, communications, or documents protected from
   disclosure by the attorney-client privilege, work product immunity, or any other
   privilege or immunity.

   RESPONSES

   1. With respect to each and every home invasion or “robbery in the home” to which
   your department has responded since January 1, 2004, please:

      a. describe the circumstances surrounding the home invasion/robbery in the
         home, including: the date and location (by city and county), the number of
         perpetrators involved, whether or not the perpetrator(s) carried firearms, and
         whether or not the perpetrator(s), victim(s), or others fired any shots;

   Response: No residential robberies or burglaries have taken place during this
   time period.



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         b. if a firearm was fired or otherwise used or displayed by any person,
         identify who used, displayed, or discharged the firearm, the manner in which
         they did so, whether the firearm used a magazine, the capacity of any
         magazines from which bullets were fired, the number of rounds fired by each
         individual, and whether any person was shot;

   Response: Sheriff Stong objects to this interrogatory on the ground that the
   phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
   without waiving this objection: Not applicable.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable.


   2. With respect to each and every occasion when you, your predecessor(s) in office,
   or a sheriff’s deputy has discharged a firearm in the course of duty since January 1,
   2004 (not including firearm practice or training), please:

   a. describe the circumstances surrounding the firearm discharge, including the
   date, location (by city and county), the reason for the firearm discharge, and
   whether you, your predecessor(s), or deputy were fired upon;

   Response: Sheriff Stong objects to this interrogatory on the ground that it is
   overbroad and not reasonably calculated to lead to the discovery of admissible
   evidence. Subject to and without waiving this objection:

   Nov. 28, 2010: After a high speed chase on Colorado Highway 160 in Alamosa
   County, several law enforcement officers, including a deputy from Alamosa County,
   pinned the suspect's car. Knowing the suspect was intoxicated, possibly mentally ill
   and carrying two large knives, officers drew their weapons and ordered the suspect
   to put both of his hands out his window. The suspect refused to obey the orders and
   began ramming his truck into the law enforcement vehicles. As the suspect did this,
   he also attempted to hit the Alamosa County deputy, after which the deputy fired
   his gun in an attempt to stop the suspect.


   b. if a firearm was fired by any person involved in the event, identify who fired the
   firearm, whether the firearm used a magazine, the capacity of any magazines from



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   which bullets were fired, the number of rounds fired by each individual, and
   whether any person was shot;

   Response: Sheriff Stong objects to this interrogatory on the ground that the word
   “event” is vague. Subject to and without waiving this objection: The deputy from
   Alamosa County and the deputy from Costilla County both fired at the suspect with
   their duty issued firearms. The deputy from Alamosa County fired approximately 4
   rounds from a Glock Model 21 .45 Auto. The deputy from Costilla County fired
   approximately 5 shots from a Sig Sauer P220 .45. Neither law enforcement nor the
   suspect were hit, and the suspect did not fire a weapon.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: None.

   3. With respect to the allegations of paragraph 102 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 1973 in which you or your
   predecessors in office requested the armed assistance of able-bodied adults (“posse
   comitatus”). In your response, state in detail the circumstances surrounding each
   such request, including:

   a. the reason for the request, the number of individuals who responded to the
   request, whether such individuals were law enforcement officers or were deputized
   for the purposes of participating, and whether these individuals were required by
   you or your predecessors to carry firearms in connection with their participation;

   Response: No such request was made during this time period.

   b. whether any individual who responded to the request to assist law enforcement
   or any individual(s) they encountered while assisting law enforcement discharged a
   firearm. If shots were fired, state the circumstances surrounding the discharge of
   the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
   magazine, the capacity of any magazines from which bullets were fired, the number
   of rounds fired, and whether any person was shot;

   Response: Not applicable.

   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable.

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   4. With respect to the allegations of paragraph 103 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 2004 when you or your
   predecessors appointed deputies who were not certified peace officers. In your
   response, state in detail:

   a. the date and duration of each individual’s appointment, the circumstances
   surrounding the need for the “non-certified” deputy, whether the non-certified
   deputy was required to carry a firearm, whether the “non-certified” deputy carried a
   firearm he/she supplied or a firearm supplied by the sheriff’s office, and whether
   any non-certified deputy ever discharged a firearm;

   Response: Non-certified deputies regularly volunteer to be part of the posse and
   reserve division. Their length of time in these positions is dependent upon their
   desire to remain a volunteer. Such volunteers are necessary in assisting with the
   day to day operations of the sheriff's office. Once these non-certified individuals are
   fully trained and qualified, they are required to carry a firearm of their own. No
   firearms are provided for any non-certified individual. No non-certified volunteer
   has discharged their firearm in the line of duty.



   b. the circumstances surrounding the discharge of the non-certified deputy’s
   firearm, including: the date and location of the event, whether the non-certified
   deputy was fired upon, the number of rounds fired by the non-certified deputy, the
   number of rounds fired by others involved in the event, the capacities of magazines
   from which bullets were fired, and whether any individual was shot;

   Response: Not applicable.


   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable.



   5. Describe every occasion since January 1, 2004 when you, your predecessor
   sheriff(s), a sheriff’s deputy, or a family member living with these individuals has
   discharged or otherwise used or displayed a firearm in defense of self, home, or
   other family members. In your response, describe the circumstances surrounding
   each event, including: the events leading to the use, display, or discharge of the

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   firearm, the number of rounds fired by you or others, and the capacity of magazines
   used by firearms that were discharged. If any person was shot, identify the
   individuals who inflicted and suffered any gunshot injuries and state whether any
   individual was killed.

   Response: Sheriff Stong objects to this interrogatory on the ground that the
   phrase “otherwise used or displayed” is vague and ambiguous. Subject to and
   without waiving this objection: To my knowledge, no such event has occurred.


   6. With respect to the allegations of paragraph 105 of the First Amended Complaint
   (doc. #22), describe every instance since January 1, 2004 in which you or your
   predecessors in office requested armed citizen assistance for emergencies and
   natural disasters. In your response, state in detail the circumstances surrounding
   each such request, including:

   a. the reason for the request, the number of individuals who responded to the
   request, and whether such individuals were law enforcement officers or were
   deputized for the purposes of participating, and whether these individuals were
   required by you or your predecessors to carry firearms;

   Response: No such request was ever made.


   b. whether any individual who responded to the request to assist law enforcement
   or any individual(s) they encountered while assisting law enforcement discharged a
   firearm. If shots were fired, state the circumstances surrounding the discharge of
   the firearm(s), including: who discharged a firearm, whether the firearm(s) used a
   magazine, the capacity of any magazines from which bullets were fired, the number
   of rounds fired, and whether any person was shot;

   Response: Not applicable.

   c. if any person was shot, identify the individuals who inflicted and suffered any
   gunshot injuries and state whether any individual was killed.

   Response: Not applicable.



   AS TO OBJECTIONS:




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                                          david@i2i.org

                                          ATTORNEY FOR SHERIFFS AND DAVID
                                          STRUMILLO

   AS TO RESPONSES:
          Pursuant to 28 U.S.C. § 1746, I, Dave Stong, do hereby verify under penalty
   of perjury that the foregoing responses to Defendant’s Interrogatories are true and
   correct to the best of my information and belief.

         Dated this 12th day of August, 2013.

                                          ______             _____________
                                          s/Sheriff Dave Stong




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